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                        7
                        8                                 UNITED STATES DISTRICT COURT
                        9                    EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
                      10
                      11       ROGER McINTOSH,                                     Case No. 1:07-CV- 01080 LJO-GSA
                      12                             Plaintiff,
                                                                                   FINAL JUDGMENT
                      13       v.
                      14       NORTHERN CALIFORNIA UNIVERSAL
                               ENTERPRISES COMPANY, a California                   Hon. Lawrence J. O’Neill
                      15       corporation; LOTUS DEVELOPMENTS,
                               LLP; THE CITY OF WASCO, a municipal                 Date of Trial and Verdict: March 10, 2010
                      16       corporation; DEWALT CM, INC., a
                               California corporation also doing business as
                      17       DEWALT CORPORATION; and DOES 1
                               through 10, inclusive
                      18
                                                     Defendants.
                      19
                      20
                               CITY OF WASCO,
                      21
                                             Cross-Complaint,
                      22
                                      vs.
                      23
                               NORTHERN CALIFORNIA UNIVERSAL
                      24       ENTERPRISES COMPANY, INC.,
                      25                     Cross-Defendant.
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ment.wpd                                                                                        [PROPOSED] FINAL JUDGMENT
                              Case 1:07-cv-01080-LJO-GSA Document 333 Filed 03/23/10 Page 2 of 2


                        1                    A jury trial and Special Verdict being delivered by the jury in the above-referenced
                        2     matter on March 10, 2010, the Court hereby enters judgment as follows:
                        3            1.      Actual damages against all defendants, Dennis W. De Walt, Inc., Northern California
                        4     Universal Enterprises, Co., Lotus Developments, L.P., and the City of Wasco, jointly and severally,
                        5     in favor of plaintiff, in the amount of 1.4 million dollars;
                        6            2.      Infringer’s profits against defendant, City of Wasco, and in favor of plaintiff, in the
                        7     amount of 1.5 million dollars;
                        8            3.      Infringer’s profits against defendant, Northern California Universal Enterprises Co.,
                        9     and in favor of plaintiff, in the amount of $1,992,107.50.
                      10             4.      Infringers profits against defendant, Lotus Developments, L.P., and in favor of
                      11      plaintiff, in the amount of $1,992,107.50;
                      12             5.      Northern and Lotus, found to have acted as partners, are jointly and severally liable
                      13      for each of their respective profits against them.
                      14             6.      The return of all hard copies by all defendants of the 5472 Maps and Improvement
                      15      Plans to plaintiff within 30 days after entry of judgment;
                      16             7.      The removal of all electronic copies by all defendants of the 5472 Maps and
                      17      Improvement Plans to plaintiff within 30 days after entry of judgment;
                      18             7.      A written report by each defendant within 30 days after entry of judgment a report
                      19      under oath and in writing setting forth in detail the manner and form in which defendants have
                      20      complied with this injuntion.
                      21
                      22      IT IS SO ORDERED.
                      23
                              DATED: March 23, 2010                          /s/ Lawrence J. O’Neill_____________
                      24                                                     Hon. Lawrence J. O’Neill
                                                                             United States District Judge
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